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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MISSOURI
                                   EASTERN DIVISION

DOLEATA JOHNSON, on behalf of                )
herself and all others similarly situated,   )
                                             )
       Plaintiff,                            )
                                             )
v.                                           )      Case No.
                                             )
MEDICREDIT, INC.,                            )
                                             )
       Defendant.                            )

                                     NOTICE OF REMOVAL

       Defendant Medicredit, Inc. (“Medicredit” or “Defendant”) hereby files its Notice of

Removal of the above-captioned case to this Court and, and in support of removal, respectfully

states as follows:

       1.      Medicredit is named as defendant in Civil Action No. 1811-CC00431 filed in the

Circuit Court of St. Charles County, Missouri, styled Doleata Johnson v. Medicredit, Inc. (the

“State Court Action”).

       2.      The Petition in the State Court Action was filed with the Clerk of the Circuit

Court of St. Charles County on or about May 1, 2018; Medicredit was served on May 11, 2018.

Pursuant to 28 U.S.C. § 1446(a), copies of all process, pleadings and orders served upon

Defendant in the State Court Action are attached hereto as Exhibit A.

       3.      In the State Court Action, Plaintiff alleges that Defendant violated two federal

statutes, the Fair Debt Collection Practices Act, 15 U.S.C. § 1692, et seq. (“FDCPA”) and the

Telephone Consumer Protection Act, 47 U.S.C. § 227, et seq. (“TCPA”).

       4.      Any civil action is removable if the plaintiff could have originally brought the

action in federal court. See 28 U.S.C. § 1441(a).

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        5.      Under 28 U.S.C. § 1331 this Court has original federal question jurisdiction over

Plaintiff’s FDCPA and TCPA claims.

        6.      Accordingly, pursuant to 28 U.S.C. § 1441(a), Defendant has the right to remove

the State Court Action to this Court, without regard to the citizenship or residency of the parties

or the amount in controversy.

        7.      Defendant was formally served with the Summons and Petition on May 11, 2018.

This removal is therefore timely pursuant to 28 U.S.C. § 1446(b).

        8.      By this Notice of Removal, Defendant does not waive any defense, jurisdictional

or otherwise, which it may possess. Defendant also does not concede that Plaintiff has stated a

claim against it.

        WHEREFORE, in accordance with the authorities set forth above, Defendant hereby

removes this action from the Circuit Court of St. Charles County, Missouri, to the United States

District Court for the Eastern District of Missouri.


                                                  Respectfully submitted,
                                                  SPENCER FANE LLP

                                              By: /s/ Scott J. Dickenson
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                                 CERTIFICATE OF SERVICE
       I hereby certify that the foregoing document was filed electronically with the United
States District Court for the Eastern District of Missouri, this 8th day of June, 2018, with a true
copy mailed, first class postage prepaid, to:
       Dominic M. Pontello
       Isaac J. Bressler
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       St. Charles, MO 63301
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       Attorneys for Plaintiff

                                                /s/ Scott J. Dickenson




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